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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



SYMBOLOGY INNOVATIONS, LLC,                     )
                                                )
                      Plaintiff,                )
                                                )   C.A. No. 1:19-cv-1482-RGA
       v.                                       )
                                                )
WESTERN DIGITAL CORPORATION,                    )
                                                )
                      Defendant.                )


                   NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE


       Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff Symbology Innovations,

LLC, hereby dismisses this action with prejudice. According to Rule 41(a)(1), an action may

be dismissed by the plaintiff without order of court by filing a notice of dismissal at any time

before service by the adverse party of an answer.       Defendant has not yet answered the

Complaint. Accordingly, Plaintiff voluntarily dismisses this action against Defendant with

prejudice pursuant to Rule 41(a)(1). Each party shall bear its own costs, expenses, and

attorneys’ fees.


                                                    /s/ Stamatios Stamoulis
                                                    Stamatios Stamoulis (#4606)
                                                    Stamoulis & Weinblatt LLC
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                                                    Attorney(s) for Plaintiff Symbology
                                                    Innovations, LLC
Dated: September 26, 2019
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   SO ORDERED this _____ day of ___________________, 2019.


                                  ________________________________________
                                       UNITED STATES DISTRICT JUDGE
